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  DOWD, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                   )
  United States of America,                        )     CASE NO. 5:06 CR 162
                                                   )
                   Plaintiff,                      )
                                                   )     MEMORANDUM OPINION
         v.                                        )     ANALYZING THE SENTENCING
                                                   )     FACTORS SET FORTH IN 18 U.S.C.
  Letricia Epps,                                   )     SECTION 3553(a)
                                                   )
                   Defendant.                      )

                                              Introduction

         The Court conducted the sentencing hearing of the defendant Letricia Epps. The Court

  determined that the defendant’s total offense level was 31 with a criminal history category of III

  calling for a sentencing range under the advisory sentencing guidelines of 135 to 168 months.

  At the conclusion of the sentencing hearing, the Court sentenced the defendant to confinement

  for a period of 135 months with supervised release for a period of five years.

                            II. The Analysis Required by 18 U.S.C. § 3553(a)

         The Court sets forth its analysis of the sentencing factors required by Booker and the

  statutory guidance provided by 18 U.S.C. §3553(a) as follows:

         (a) Factors to be considered in imposing a sentence.

         The court shall impose a sentence sufficient, but not greater than necessary, to comply

  with the purposes set forth in paragraph (2) of this subsection. The court, in determining the

  particular sentence to be imposed, shall consider -

         (1) The Nature and Circumstances of the Offense and the History and
         Characteristics of the Defendant
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          The offense conduct is set forth as follows:

                  Approximately two years ago, the FBI and local law enforcement
                  initiated an investigation into the drug trafficking activities of the
                  Ronald Dede drug trafficking organization. The investigation
                  established that Dede had customers in Canton, Ohio. Dede
                  ordered cocaine from Arizona resident, Craig Dawson who was
                  assisted by the defendant who also resided in Arizona.

                  Prior to a cocaine shipment arriving in Ohio, Dede would fly into
                  Cleveland or Pittsburgh and collect money owed to him from the
                  last cocaine shipment. Meanwhile, Dawson and the defendant
                  would fly into Ohio to meet with Dede. They would count the
                  money Dede collected to make sure there would not be a rip-off.
                  Dawson would then call his cocaine source, Oswaldo Sanchez, to
                  inform him the money had been collected. Sanchez, already in
                  Canton, would dispatch the driver of the load car to the cocaine
                  drop-off location.

                  During the period of the conspiracy, the defendant traveled to the
                  Canton, Ohio area at the request of Ronald Dede to provide
                  security for drug monies collected by Dede while he collected
                  additional monies owed from previously distributed cocaine. The
                  defendant assisted Dede in the counting of the cash.

                  The defendant traveled to Ohio from Arizona on, at least five
                  occasions, to participate in the conspiracy.

          The defendant is a 39 year-old female with two prior convictions for drug-related

  offenses. In 1993, she was arrested for Armed Robbery. The charge was dismissed in a plea

  deal.

          A life-long resident of Arizona, the defendant was raised by her grandmother whom she

  describes as the “rock of her life.” She was abandoned by her mother when she was eight years

  old and she has no knowledge of her biological father. The defendant has a good relationship




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  with her siblings and maintains contact with them. She has never been married and has no

  children.

         The defendant has worked primarily in food-service jobs. Most recently, she and her

  sister operated a catering business.

         The defendant suffers from bronchitis, dehydration and occasional swelling.

         The defendant suffers from bi-polar disorder. She has also reported experiencing visual

  and aural hallucinations and anxiety.

         The defendant began abusing marijuana and alcohol at age 13. She believes she is

  addicted to both substances.

         The defendant’s acceptance of responsibility is set forth in paragraph 23 of the

  presentence report as follows:

                  “I Letricia J. Epps accept my role in the drug conspiracy. I also
                  give a full statement to the F.B.I. and also have cooperated fully.”
                  [sic]

         (2) The Need for the Sentence Imposed

                  (A) to reflect the seriousness of the offense, to promote respect
                  for the law, and to provide just punishment for the offense;

         The defendant engaged in a significant way with an interstate cocaine conspiracy that

  involved large sums of money and large quantities of cocaine. Respect for the law and just

  punishment will be served by a sentence of 135 months.

                  (B) to afford adequate deterrence to criminal conduct;

         A sentence of 135 months will provide adequate deterrence to criminal conduct.




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                  (C) to protect the public from further crimes of the defendant;

         The defendant is now 39. She will be approaching the age of 50 at release. By that time

  in the defendant’s life the impact of a lengthy sentence should act to protect the public from

  further crimes of the defendant.

                  (D) to provide the defendant with needed educational or
                  vocational training, medical care, or other correctional
                  treatment in the most effective manner;

         Incarceration should provide the defendant with needed medical care for her condition of

  bronchitis, dehydration and occasional swelling. The incarceration should also assist the

  defendant in dealing with her drug and alcohol addiction. The defendant has operated a catering

  business. She should have the opportunity to improve her culinary skills to assist in a return to a

  catering business upon release from incarceration.

                                           CONCLUSION

         For the reasons set forth herein, a sentence of 135 months with supervised release for five

  years and within the advisory guideline range, is a sentence sufficient, but not greater than

  necessary to comply with the purposes of 18 U.S.C. § 3553(a)(2).

         IT IS SO ORDERED.



  November 7, 2006                                /s/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge




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